
156 P.3d 905 (2007)
STATE of Washington, Petitioner,
v.
Freddie Lee KIBBY, Respondent.
No. 78457-4.
Supreme Court of Washington.
May 2, 2007.

ORDER
¶ 1 Department II of the Court, composed of Chief Justice Alexander and Justices Madsen, Bridge, Owens and J.M. Johnson, considered this matter at its May 1, 2007, Motion Calendar, and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 That the Petition for Review is granted and the matter is remanded to the Court of Appeals Division One for reconsideration in light of State v. Jones, 159 Wash.2d 231, 149 P.3d 636 (2006).
For the Court
/s/ __________________________
CHIEF JUSTICE
